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 3
     Attorney for Defendant
 4   RYAN CHEAL
 5

 6

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

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11                                                    )   2:12-CR-0185-TLN
     UNITED STATES OF AMERICA,                        )
12                                                    )   STIPULATION AND [PROPOSED]
                     Plaintiff,                       )   ORDER TO MODIFY PRETRIAL
13                                                    )   RELEASE CONDITIONS
         vs.                                          )
14   RYAN CHEAL,                                      )
                                                      )
15                                                    )
                                                      )
16                                                    )
                     Defendant.                       )
17                                                    )

18

19                                            STIPULATION
20          Pursuant to the recommendation of Pretrial Services, the parties hereto, through their
21   undersigned counsel, hereby stipulate that the following condition of defendant’s pretrial
22   release be removed:
23          Condition number 8 - You shall submit to drug and/or alcohol testing as approved by
24   the pretrial services officer. You shall pay all or part of the costs of the testing services based
25   upon your ability to pay, as determined by the pretrial services officer
26          All other release conditions remain.
27   ///
28   ///
                              STIP AND ORDER MODIFYING RELEASE CONDITION
                                          USA v. RYAN CHEAL
     Case 2:12-cr-00185-TLN Document 243 Filed 10/06/17 Page 2 of 2


                                                Respectfully submitted,
 1

 2
     Dated: October 4, 2017                     /s/ Chris Cosca___________________
 3                                              CHRIS COSCA
                                                Attorney for Defendant
 4

 5

 6   Dated: October 4, 2017                     _/s/ Jason Hitt ___________________
 7
                                                JASON HITT
                                                Assistant US Attorney
 8                                              Attorney for Plaintiff
 9

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11
                                              ORDER
12

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14   IT IS SO ORDERD.

15

16
     Dated: October 6, 2017
17                                                 _____________________________________
                                                   CAROLYN K. DELANEY
18                                                 UNITED STATES MAGISTRATE JUDGE
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                              STIP AND ORDER MODIFYING RELEASE CONDITION
                                          USA v. RYAN CHEAL
